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                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION
              Case Number:__________________-CIV-_____________________

RAYMOND T. MAHLBERG,

       Plaintiff,
v.

MELIA HOTELS ORLANDO, LLC.,

       Defendant.
________________________________/

                     COMPLAINT FOR PERMANENT INJUCTIVE RELIEF

              COMES NOW, Plaintiff Raymond T. Mahlberg (“Plaintiff “or “Mahlberg”), by

and through undersigned counsel, files this Complaint for Permanent Injunctive Relief pursuant to

Title III of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189

(“ADA”), 28 U.S.C. §2201 and 2202 as well as 28 CFR Part 36 Regulations. Plaintiff state as

follows:

                       INTRODUCTION AND NATURE OF THE ACTION

              1. This Court has jurisdiction over this case based on federal question Jurisdiction,

as provided in 28 U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and

injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

              2. Plaintiff is a visually-impaired and legally blind person (disabled) who requires

assistance through screen-reading software to read website content using his computer. Plaintiff

uses the term “blind” or “visually impaired” as legally blind. Disable as defined by ADA and

Amendment acts of 2008, 42 USC §12101 (ADAAA).




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                3.      Defendant’s         website        https://www.melia.com/en/hotels/united-

states/orlando/melia-orlando-celebration/index.htm the Florida website (the “Website”) is not

fully or equally accessible to blind or visually impaired consumers in violation of the “ADA.” As

a result, Plaintiff seeks a permanent injunction to cause a change in MELIA HOTELS

ORLANDO LLC (“Defendant” or “MELIA”) policies, practices and procedures so that

Defendant’s website will become, and remain, accessible to blind. Plaintiff seeks injunctive relief,

attorneys’ fees and costs, including, but not limited to, court costs and expert fees, pursuant to

Title III of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189

(“ADA”) and 42 U.S.C. 2000a-3(a). See also 28 U.S.C. 2201 and 2202 as well as ADA 28 CFR

Part 36 Regulations.

                4. Plaintiff is unaware of the true names, identities, and capacities of all responsible

parties (defendants) being sued. Plaintiff will seek leave to amend this complaint to allege the

true names and capacities if and when ascertained. Plaintiff is informed and believes, and

thereupon alleges, that Defendant is legally responsible in some manner for the events and

happenings alleged herein and that Defendant sued here proximately caused injuries and damages

to Plaintiff as set forth below.

                5. Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA

Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”). Defendant’s failure to design, build,

maintain, and operate its https://www.melia.com and https://www.melia.com/en/hotels/united-

states/orlando/melia-orlando-celebration/index.htm to be fully and equally accessible to and

independently operational by Plaintiff, constitutes in Defendant’s denial of full and equal access

to the hotel and Website, resulting in a violation of Plaintiff’s rights under the Americans with

Disabilities Act (“ADA”).



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                 6. Defendant’s website is a point of sale for the Defendant physical hotel. The

Defendant’s Website allows to make online reservation of hotel rooms.

                 7. The Defendant owns and operates the Website for desktop and mobile

application for e-commerce and a hotel that are located in Florida.

                 8. Because Defendant is a hotel open to the public, each of Defendant’s physical

hotel is a place of public accommodation subject to the requirements of Title III of the ADA, 42

U.S.C. §12182, §12181(7)(A), and its implementing regulations, 28 C.F.R. Part 36.

                 9. Plaintiff Raymond T. Mahlberg, a blind veteran of the U.S. military, residing in

Orlando, Florida brings this action under the Americans with Disabilities Act in Federal Court.

                 10. Blind and visually impaired citizens must use screen reading software 1 or other

assistive technologies in order to access website content.

                 11. Economy and society become increasingly digitized. Plaintiff cannot use his

computer and mobile device browser without the assistance of appropriate and available screen

reader software to understand websites.

                 12. Defendant’s Website is built in digital code that impedes screen-reader

software to work. A few lines of code could make the Defendant’s website compatible with the

popular blind’s screen-readers software and grant access to Defendant’s hotel to all blind

individuals, including Plaintiff. People with disabilities deserve to have an equal opportunity to

access the services, goods and programs provided by businesses, including when offered or

communicated through websites. See https://www.justice.gov/opa/pr/justice-department-issues-

web-accessibility-guidance-under-americans-disabilities-act.


1
  “screen reader” is a software application that enables people with severe visual impairments to use a computer.
Screen readers work closely with the computer's Operating System (OS) to verbalize information about icons, menus,
dialogue boxes, files and folders.


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               13.Screen reader software translates the visual internet into an auditory equivalent.

which vocalizes visual information found on the computer screen. With this software, Plaintiff

has successfully used more than 400 websites.

               14. The software reads the content of a webpage to the user. The screen reading

software uses auditory cues to allow a visually impaired user to effectively navigate the websites.

                15. One of the functions of the Defendant’s Website is to provide the public

information on the locations and services provided by Defendant’s hotel. Defendant allow guests

to make a hotel room reservation through its Website, which acts as a point of sale for Defendant’s

business and physical hotels.

               16. This case arises out of the fact that Defendant MELIA HOTELS ORLANDO

LLC has operated its business in a manner and way that effectively excluding Plaintiff who are

visually impaired from access to Defendant physical hotel and online hotel reservation (the

Website). Because the Website, a digital reservation platform connects individuals to make a

room reservation on the Website 24/7. The Website has a nexus to, and is an extension of and

gateway to the Defendant’s physical hotel, which are places of public accommodation pursuant

to the ADA, 42 U.S.C. §12181(7)(A).

               17. Even if the Website is not itself a place of public accommodation the

Defendant’s physical hotel are a place of public accommodation under 42 U.S.C. §12181(7)(A),

and must comply with all requirements of the ADA. The Website is an extension and a necessary

service, privilege, and advantage of the Defendant’s physical hotel. Defendant must not

discriminate against individuals with visual disabilities, and must not deny those individuals the

same full and equal access to and enjoyment of the goods, services, privileges, and advantages

afforded the non-visually disabled public both online and the hotel.



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               18. As a result of Plaintiff being legally blind, before he embarks on any venture

from his home, Plaintiff studies the location where Plaintiff is seeking to patronize through using

the internet. Plaintiff has made innumerous attempts to access Defendant’s physical hotel and

Website in the past, but Plaintiff could not make a room reservation or be informed about guest

room accessibility thru the Website because the Website is incompatible with screen-reader.

               19. Plaintiff intends to continue to access the Defendant’s physical hotel and make

a room reservation thru the Website. Plaintiff was informed that there is one of the Defendant’s

hotels located at 225 Celebration Place, Orlando.

               20. Plaintiff is and has been a customer who is interested in patronizing and intends

to patronize in the near future Defendant’s hotel once the Website’s access barriers are removed

or remedied. The barriers Plaintiff encountered on Defendant’s website have impeded Plaintiff’s

full and equal enjoyment of services offered at Defendant’s hotel.

               21. In the alternative, Plaintiff intends to monitor the Website in the near future,

as a tester, to ascertain whether the Website has been updated and remedied to work properly with

screen-readers.

               22. Before Plaintiff visited Defendant’s hotel, Plaintiff needs to make an online

reservation online and check for room accessibility, these are important accommodations for

Plaintiff, because as a visually disabled individual Plaintiff plans his outings in advance.

               23. Plaintiff is impeded to access and communicate with Defendant effectively,

unable to take advantage and use the Website, create an account and make a room reservation,

and review hotel room accessibility.

               24. The privilege to navigate the Website from Plaintiff’s home is important and

necessary accommodations for Plaintiff because traveling outside of his home as a visually



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disabled individual is an often challenging and fearsome experience. Defendant’s failure to

provide auxiliary aids and services for effective communications is an act of discrimination

against Plaintiff. Title III ADA 28 C.F.R. § 36.303.

               25. However, unless Defendant is required to eliminate the access barriers at issue

and required to change its policies so that access barriers do not reoccur on Defendant’s Website,

Plaintiff will continue to be denied full access to Melia Orlando Hotel’s physical hotel and online

reservation system (the Website).

                                 JURISDICTION AND VENUE

               26. This Court has jurisdiction over this case based on federal question jurisdiction, 28

U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief pursuant

to 28 U.S.C. §§2201 and 2202.

              27. Defendant has a Hotel in Orlando, Florida. Defendant conducts and continues to

conduct a substantial and significant amount of business in this District.

               28. Venue is proper pursuant to 28 U.S.C. §1391, in the Middle District of Florida

where Plaintiff and defendant resides and a substantial part of the events giving rise to the claims

occurred. Personal jurisdiction exists when the Defendant purposefully availed itself of the

conducting activities within the forum State.

               29 Plaintiff’s claims asserted herein arose in this judicial district. Plaintiff was told

that there is a MELIA HOTELS in Orlando, Florida.

               30. Plaintiff is a resident of Orlando, FL 32817. is sui juris, and is disabled as

defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”).

               31. This is an action injunctive relief pursuant to Title III of the Americans with

Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), 28 C.F.R. § 36.201 and to prevent



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discrimination which includes equal access and effective communications with Defendant’s

business. This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343.

               32. Defendant is subject to personal jurisdiction in this District. Defendant has been

and is committing the acts or omissions alleged herein in the Middle District of Florida that caused

injury, and violated rights prescribed by the ADA to Plaintiff. A substantial part of the acts and

omissions giving rise to Plaintiff’s claims occurred in the Middle District of Florida. Specifically,

on several separate occasions, Plaintiff has been denied the full use and enjoyment of the facilities,

goods, and services of Defendant’s Website in Florida. The access barriers Plaintiff encountered

on Defendant’s Website have caused a denial of Plaintiff’s full and equal access multiple times in

the past, and now deter Plaintiff on a regular basis from accessing Defendant’s Website and Hotel.

Defendant MELIA HOTELS ORLANDO LLC is a foreign company authorized to conduct, and

is conducting, business within the State of Florida and within the jurisdiction of this court.

                                        THE PARTIES

               33. Plaintiff Mahlberg, is a resident of the State of Florida. Plaintiff resides in

Orlando. Mahlberg is legally blind, and a member of a protected class under the ADA. Whereby,

he has a disability within the meaning of 42 U.S.C. § 12102(1)-(2), the regulations implementing

the ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff suffered

an assault to the back of his head in 2004 which caused damage and atrophy of the optic nerve,

and as a consequence, is legally blind. Plaintiff is a legally blind individual who has a physical

impairment that substantially limits the major life activity of seeing. Accordingly, Mahlberg has a

disability within the meaning of 42 U.S.C. § 12102 and 28 C.F.R. § 35.104. Plaintiff is a qualified

individual with a disability within the meaning of 42 U.S.C. § 12131(2), 29 U.S. Code § 794 and

28 C.F.R. § 35.104.



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               34. Plaintiff cannot use the computer without the assistance of a screen reader

software. Mahlberg is a proficient user of the JAWS and NVDA screen-reader to access the

internet." JAWS, or "Job Access With Speech," Voiceover (Apple’s screen reader) or NVDA

(Windows’s screen reader) are the most popular screen reading software for computers and mobile

phones. For screen-reading software to work, the information on a website must be capable of

being rendered into text. Usually, this means that graphics and embedded hyperlinks must include

alternative text (known as "alt-text")—a description of the image that appears when a cursor floats

over it or screen-reading software detects it.

               35. MELIA HOTELS ORLANDO LLC is a Foreign Profit Corporation. Defendant

is the owner and operator of a chain of hotels under the brand name MELIA.

               36. Upon information and belief, at all times material hereto, Defendant MELIA

HOTELS ORLANDO LLC owns, operates, and/or manages the day-to-day affairs of MELIA

Celebration in Orlando which is operating within the State of Florida. Defendant’s hotel is a public

accommodation pursuant to 42 U.S.C. § 12181(7)(A).

               37. Plaintiff believes, and thereon alleges, that defendant MELIA HOTELS

ORLANDO LLC and affiliates and/or related entities, actively engaged in the rental of hotel rooms

in Florida.

               38. Said Defendant entities will hereinafter collectively be referred to as “MELIA”

or, where appropriate, “Defendant.”



                                                 FACTS




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                 39. Defendant is defined as a “Place of Public Accommodation" within meaning of

Title III because Defendant is a private entity which owns and/or operates “[A] (A) an inn, hotel,

motel, or other place of lodging” 42 U.S.C. §12181(7)(A) and 28 C.F.R. §36.104(5).

                 40. Each of Defendant MELIA HOTELS ORLANDO is open to the public and

each is a Place of Public Accommodation subject to the requirements of Title III of the ADA and

its implementing regulation as “ a hotel ,” as defined by 42 U.S.C. §12181(7)(A); §12182, and 28

C.F.R. Part 36.

                 41. MELIA offers hotel rooms for short-term rental to the general public.

                 42. Defendant has control over several points of sale including the Website, its

content, design and source-code, and/or operates his web pages, including image and data content.

Defendant owns and operate the domain name https://www.melia.com that is configured for use

by laptop computer and mobile devices such as smartphones.

                 43. One of the functions of Defendant’s Website (available to browse in mobile or

computer version) is to provide the digital online reservation system for the Defendant’s hotel

locations.

                 44. Defendant’s Website is offered by Defendant as a way for the public to

communicate with MELIA. Defendant’s Website, also allows the public to register an account and

reserve a room, receive discounts and locate the hotels.

                 45. Blind Plaintiff needs to plan his outgoings since at the physical hotel it is

difficult to know the room rate and room accessibility features, hotel architectural accessibility.

Like innumerous customers, Plaintiff rather to accesses Defendant’s Website for reservations.

Plaintiff has a concrete plan of visiting the hotel because Plaintiff travels to South Beach in a

regular basis.



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                   46. Plaintiff is a customer of MELIA HOTELS since his intent to visit Melia Hotel

in Orlando after Plaintiff has the ability make a reservation.

                   47. During the month of May 2022, on several occasions, Plaintiff was denied

access to Defendant’s website, because the Website was incompatible to the screen-reader

software. Plaintiff explains that the Website contains the following access barriers that prevents

him from free and full use of screen reader software. Plaintiff encountered these barriers that are

persistent and include, but are not limited to:

          a. Lack of text alternatives (“alt text”) on images. Images missing alt attribute. The images

on the landing page (it announces “link”), Rooms-Rates and Gallery have no id description

readable for screen reader. Image elements must have an accessible name. Each a element must

contain     text    or   an   img    with   an    alt    attribute.   The   issue   is   recorded    at

https://youtu.be/4hUzHZsLRHc.

          b. Check in calendar box, should work with keyboard keys, arrows, to select a date, but the

website cannot be navigated by keyboard only. Plaintiff was unable to make a reservation.

Clickable controls should be keyboard accessible. Plaintiff using Jaws or Voiceover is unable to

use a mouse, so use the keyboard instead. The Website must add an equivalent keyboard event

handler. Check at https://youtu.be/jxZL4CR1tg4.

          c. Text and background colors does not have enough contrast. Poor color contrast.

          d. a reservation phone number on the top of the page is never announced. The issue is

recorded at https://youtu.be/4hUzHZsLRHc.

          e. If the dates are selected a page with the rooms appears. But the price is not announced,

the description of the room, the discount are all inaccessible with screen reader. The Website




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announces “choose” multiple times. Plaintiff was unable to place a reservation. Check

https://youtu.be/cyHtpxOS6K4.

       f. Field form in the registration form. Labels that screen readers can convey to their users

when there is an error when filling up the form; it is missing to announce the Error indicators.

       g. The address is not announced (‘blank”), the map is also inaccessible, because does not

voice the address or directions (voices “ zoom in”,” zoom out”).

       h. Plaintiff searched in the room page and other pages for ADA rooms but they do not show

up in the results page. Plaintiff was unable to access the hotel and rooms accessibility features and

amenities. Are service animals welcome? Does the room have TTY or TDD phone? Does this

hotel provide for Architectural Accessibility? Check this issue at https://youtu.be/7felApzOiZo.

               48. Due to these barrier Plaintiff was unable and impeded to access: Plaintiff was

unable to learn (1) Defendant’s hotel location; (2) type of rooms available; (3) ADA handicap

room accessibility and hotel design accessibility; (4) get the exclusive online deals; (5) register

online to make a reservation. Thus, Defendant’s Website creates an intangible barrier that prevents

Mahlberg from “’accessing a privilege’ of a physical place of public accommodation, where

Plaintiff cannot make a reservation for the Defendant’s hotel for an accessible room.

               49. Plaintiff attempted to locate an “accessibility” notice, statement, or policy on

the Website that would direct him to a webpage with contact information for disabled individuals

who have questions or concerns about, or who are having difficulties communicating with, the

Website. However, Plaintiff was unable to do so because no such link or notice, statement, or

policy existed on the Website.

               50. During Plaintiff’s several visits to the website using JAWS and NVDA

(computer) and Voiceover (cell-phone browsing) occurring in April 13, 2022 and the last in June



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10, 2022, attempted to visit the physical hotel by checking the Website first, however the plaintiff

encountered multiple access barriers that denied the plaintiff full and equal access to the facilities,

goods and services offered to the public and made available to the public; and that denied the

plaintiff the full enjoyment of the Defendant’s facilities, goods, and services.

                              AMERICAN WITH DISABILITIES ACT

                 51. Under Title III of the ADA, 42 U.S.C. §§ 12181–12189 (“Title III”), which

addresses “Public Accommodations and Services Operated by Private Entities.” Title III provides

that “[n]o individual shall be discriminated against on the basis of disability in any place of public

accommodation.” 42 U.S.C. § 12182(a).

                 52. Title III provides that “no individual shall be discriminated against on the basis

of disability” in “any Place of Public Accommodation.” 42 U.S.C. § 12182(a). As defined in Title

III, the term “public accommodation” includes a “hotel” Id. § 12181(7)(A). Defendant MELIA

HOTELS ORLANDO LLC owns and operates hotels, like the MELIA Celebration hotel.

                53. On March 18, 2022, The Department of Justice issued Web Accessibility

 Guidance under the Americans with Disability Act. It explains how businesses open to the public

 (entities covered by ADA Title III) must make sure their websites are accessible to people with

 disabilities in line with the ADA’s requirements.2 (Exhibit A).




____________________________

 2. “We have heard the calls from the public on the need for more guidance on web accessibility, particularly as our
 economy and society become increasingly digitized,” said Assistant Attorney General Kristen Clarke for the Justice
 Department’s Civil Rights Division. “.See https://www.justice.gov/opa/pr/justice-department-issues-web-
 accessibility-guidance-under-americans-disabilities-act. The guidance discusses the importance of making websites
 accessible for people with disabilities, and how to make web content accessible applying the Web Content
 Accessibility Guidelines (“WCAG”) 2.1 to determine accessibility. Id.




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               54. Binding Court acknowledged that Title III’s public accommodation protection

“covers both tangible and intangible barriers, such as screening rules or discriminatory

procedures that restrict a disabled person’s ability to enjoy the defendant entity’s services and

privileges.


               55. Technology evolves, in these days, for consumers and business. Defendant’s

provision of a digital reservation platform the “Website”, which is the main point of sale, for

Defendant’s business. The Website is an intangible, but essential part of the Defendant’s services

and privileges offered by the Defendant’s hotels to their customers to access Defendant’s services.

               56. Title III ADA Part 36 regulation was amended to integrate section 36.303

Auxiliary Aids and Services “A public accommodation shall furnish appropriate auxiliary aids and

services where necessary to ensure effective communication with individuals with disabilities.”

               57. The access barriers Plaintiff encountered on Defendant’s website have caused

a denial of Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff on a

regular basis from accessing Defendant’s Website.

               58. Plaintiff would like to become Defendant’s patron and access the Defendant’s

hotel and the Website in the near future but the barriers Plaintiff encountered on Defendant’s

Website has impeded Plaintiff’s full and equal enjoyment of goods and services offered at

Defendant’s physical hotel.

               59. The fact that Plaintiff could not access the Defendant’s Website and could not

comprehend the electronic pages contained therein, left Plaintiff excluded from accessing MELIA

HOTELS ORLANDO’s hotel and services available from Defendant and further left him with the

feeling of segregation, rejection, isolation, and unable to participate in a manner equal to that




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afforded to others who are not similarly disabled. As a result, Plaintiff has suffered particularized

harm and an injury in fact.

               60. Plaintiff cannot make proper arrangements for transportation of himself to the

MELIA without the ability to know in advance that he has a reservation to the MELIA, which is

available to guests at the Website. Plaintiff also faces a great degree of uncertainty of how to

physically travel to Defendant MELIA. Plaintiff is effectively denied the ability to physically

travel to Defendant MELIA.

               61. Plaintiff has a concrete plan to visit the MELIA when he is treated like other

members of the public. By denying Plaintiff the opportunity to comprehend MELIA’s Website

therein due to Plaintiff’s disability (visual impairment), Defendant has denied Plaintiff the

opportunity to participate in or benefit from Defendant’s goods and services as afforded to the

public.

               62. Plaintiff will suffer continuous and ongoing harm from Defendant’s omissions,

policies, and practices set forth herein unless enjoined by this Court.

               63. On information and belief, Defendant has not offered any form of Website in

an accessible format for blind or visually impaired individuals.

               64. Thus, Defendant has not provided full and equal enjoyment of the services,

facilities, privileges, advantages, and accommodations provided at its hotels.

               65.    All Public Accommodations must ensure that their Places of Public

Accommodation provide Effective Communication for all members of the general public, including

individuals with disabilities pursuant Title III ADA 28 C.F.R. § 36.303.

               66. Binding case law increasingly recognize that business that are providing goods

and services to the public through their online point of sale which operates as “Places of Public



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Accommodation” under Title III, must take steps to provide appropriate communication aids and

services (often called “auxiliary aids and services”) where necessary to make sure they effectively

communicate with individuals with disabilities. Id.

               67. A person who cannot see, like the Plaintiff in this case, cannot go to Defendant’s

Website and avail themselves of the same privileges. Thus, the Plaintiff has suffered discrimination

due to Defendant’s failure to provide a reasonable accommodation for Plaintiff’s disability.

               68. Plaintiff has no plain, adequate, or complete remedy at law to redress the

wrongs alleged hereinabove and this suit for injunctive relief is his only means to secure adequate

redress from Defendant’s unlawful and discriminatory practices.

               69. Notice to Defendant is not required as a result of Defendant’s failure to cure the

violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

2202.

               70. Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

U.S.C. §§ 2201 and 2202 and Title III ADA Subpart E Section 36.501.

               71. Plaintiff has retained the law office of Acacia Barros, Esq. and has agreed to

pay a reasonable fee for services in the prosecution of this cause, including costs and expenses

incurred. Plaintiff is entitled to have reasonable attorneys’ fees, costs and expenses paid by

Defendant MELIA HOTELS ORLANDO LLC.

   COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

               72. Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

subtitle of Title III of the ADA, which prohibits discrimination on the basis of disability by Public

Accommodations and requires Places of Public Accommodation to be designed, constructed, and

altered in compliance with the accessibility standards established by Part 36 Regulation.



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               73. Defendant’s Website has not been designed to interface with the widely and

readily available technologies for blinds that can be used to ensure effective communication.

               74. As delineated above and pursuant to 42 U.S.C. §12181(7)(A), Defendant is a

Public   Accommodation       under    the   ADA       because   it   owns   and/or    operates   the

https://www.melia.com/en/hotels/united-states/orlando/melia-orlando-celebration/index.htm

Website which is defined within §12181(7)(A), and is subject to the ADA.

               75. No notice is required because under Title III of the ADA, 42 U.S.C. §

12182(b)(1)(A)(II), it is unlawful discrimination to deny individuals with disabilities or a class of

individuals with disabilities an opportunity to participate in or benefit from the goods, services,

facilities, privileges, advantages, or accommodation, which is equal to the opportunities afforded

to other individuals.

               76. Unlawful discrimination includes “a failure to make reasonable modifications

in policies, practices, or procedures, when such modifications are necessary to afford such goods,

services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

unless the entity can demonstrate that making such modifications would fundamentally alter the

nature of such goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §

12182(b)(2)(A)(II).

               77. Unlawful discrimination also includes “a failure to take such steps as may be

necessary to ensure that no individual with a disability is excluded, denied services, segregated or

otherwise treated differently than other individuals because of the absence of auxiliary aids and

services, unless the entity can demonstrate that taking such steps would fundamentally alter the

nature of the good, service, facility, privilege, advantage, or accommodation being offered or

would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(III).



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               78. Defendant is in violation of the ADA by creating barriers for individuals with

disabilities who are visually impaired and who require the assistance of interface with screen reader

software to comprehend and access its Website. These violations are ongoing.

               79. As a result of the inadequate development and administration of Defendant’s

Website, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and §12188, also 28

C.F.R. §36.501 to remedy the discrimination.

               80. Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff Mahlberg injunctive relief; including an order to:

               a) Require Defendant take the necessary steps to make the Website readily

accessible to and usable by visually impaired users, and during that time period prior to the

https://www.melia.com/en/hotels/united-states/orlando/melia-orlando-celebration/index.htm

website being readily accessible, to provide a temporary alternative method for individuals with

visual impairments to access the information available on the Website until such time that the

requisite modifications are made. Title III American with Disabilities Act Part 36 Regulation.

               b) Require Defendant to provide periodic maintenance of the accessible website

thru the appropriate auxiliary aids such that individuals with visual impairments will be able to

always receive effectively communication with the Website for purposes of viewing and locating

MELIA HOTELS ORLANDO LLC and becoming informed of and signing up for MELIA Hotel

online reservations, and of viewing electronic documents provided to the public within

Defendant’s Website.

               c) During the time period prior to the Website’s being designed to permit

individuals with visual impairments to effectively communicate, requiring Defendant to provide

an alternative method for individuals with visual impairments to effectively communicate so they



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are not impeded from obtaining the goods and services made available to the public. Title III ADA

Part 36 Regulation.

               81. For all of the foregoing, the Plaintiff has no adequate remedy at law.

                                    DEMAND FOR RELIEF

               WHEREFORE, Plaintiff RAYMOND T. MAHLBERG hereby demands

judgment against Defendant MELIA HOTELS ORLANDO, LLC. and requests the following

injunctive relief permanently enjoin Defendant from any practice, policy and/or procedure which

will deny Plaintiff equal access to, and benefit from Defendant’s services and goods, as well as the

Court:

               a. That the Court issue a Declaratory Judgment that determines that the Defendant’s

websites at the commencement of the subject lawsuit is in violation of Title III of the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq.;

               b. That the Court enter an Order directing Defendant to continually update and

maintain their computer version of the defendant’s websites to ensure that it remains fully

accessible to and usable by visually impaired individuals;

               c. That the Court issue an Injunctive relief order directing Defendant to alter their

website to make it accessible to, and useable by, individuals with disabilities to the full extent

required by Title III of the ADA;

               d. That the Court enter an Order directing Defendant to evaluate and neutralize their

policies and procedures towards persons with disabilities for such reasonable time so as to allow

Defendant to undertake and complete corrective procedures;




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               e. Further requests the Court to retain jurisdiction for a period to be determined to

ensure that Defendant has adopted and is following an institutional policy that will in fact cause

Defendant to remain fully in compliance with the law;

               f. That the Court enter an award of attorney’s fees, costs and litigation expenses

pursuant to 42 U.S.C. § 12205; and Title III of the ADA Section 36.505.



                                             Respectfully submitted,

Dated this 27th day of June 2022.


                                              /s/Acacia Barros
                                              Attorney for Plaintiff
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                                    CERTIFICATE OF SERVICE

            I hereby certify that on this 27th of June 2022 that the foregoing document has been

filed   using CM/ECF          system and     will    be      served via     email             when

Defendant/Defendant’s counsel enters an appearance.




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